Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 1 of 11




                      Exhibit A
         Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 2 of 11



                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



JILL STEIN, RANDALL REITZ, ROBIN HOWE,
SHANNON KNIGHT, EMILY COOK, and
KIMBERLY KUPKA,
                     Plaintiffs,
                                                                               No. 16-CV-6287
    v.

PEDRO A. CORTÉS, in his official capacity as
Secretary of the Commonwealth; and JONATHAN
MARKS, in his official capacity as Commissioner
of the Bureau of Commissions, Elections, and
Legislation,
                           Defendants.



                         SETTLEMENT AGREEMENT AND RELEASE


    I.     INTRODUCTION

         1.      This private settlement agreement and release (the “Agreement”) is entered into

as of the date of the last signatory (“Effective Date”), among the plaintiffs, Jill Stein, Randall

Reitz, Robin Howe, Shannon Knight, and Emily Cook;1 and defendants Robert Torres, in his

official capacity as Acting Secretary of the Commonwealth,2 and Jonathan Marks, in his official

capacity as Commissioner of the Bureau of Commissions, Elections and Legislation.




1
 Plaintiff Kimberly Kupka withdrew from this action by the filing of a Notice of Withdrawal with this Honorable
Court on August 29, 2018.
2
 Defendant Pedro A. Cortes resigned the position of Secretary of the Commonwealth on October 10, 2017; Robert
Torres was designated to serve as Acting Secretary of the Commonwealth on the same day.
           Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 3 of 11



    II.         VOTER-VERIFIABLE PAPER BALLOTS FOR EVERY VOTER

           2.       The Secretary will only certify new voting systems for use in Pennsylvania if they

meet these criteria:

                 a. The ballot on which each vote is recorded is paper3;

                 b. They produce a voter-verifiable record of each vote; and

                 c. They are capable of supporting a robust pre-certification auditing process.

           3.       The Secretary will continue to direct each county in Pennsylvania to implement

these voting systems by the 2020 primaries, so that every Pennsylvania voter in 2020 uses a

voter-verifiable paper ballot.

           4.       To ensure that new voting systems meet the criteria set forth in Paragraphs #2-3,

and to work collaboratively to further the parties’ shared goal of promoting reliable and secure

voting in Pennsylvania, a designee of Plaintiffs will be invited to observe the certification

process. To that end:

                 a. The Secretary shall ensure that the Plaintiffs are made aware of all currently

           scheduled, and future scheduled, Commonwealth on-site certification testing for Voting

           Systems;

                 b. Plaintiffs will appoint a person to attend any and/or all on-site certification testing

           undertaken by or on behalf of the Secretary, and the representative may provide written

           or oral comments to the Secretary concerning the certification of any Voting Systems at

           breaks during the on-site certification testing or within a reasonable period after

           completion of the on-site testing; and




3
    A VVPAT receipt generated by a DRE machine is not a paper ballot.

                                                   Page 2 of 8
        Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 4 of 11



        c. To the extent there are periods during the on-site testing when proprietary information

              must be discussed among the vendor, the contracted testing examiner(s) and the

              Department of State, Plaintiffs’ representative will be excused from the testing room.

 III.        ROBUST PRE-CERTIFICATION AUDITING

        5.       The Secretary will direct each county to audit all unofficial election results using

robust pre-certification audit methods to be determined based on the recommendations of a Work

Group established by the Secretary, consistent with applicable statutory authority and the

following principles:

              a. Pre-certification. Audits must be completed before the election results are

        certified.

              b. Automatic. Audits must happen automatically, without a request from voters or

        candidates.

              c. Best Practices. Audits shall be conducted consistent with best practices in the

        field.

              d. Escalation. If the initial audit fails to rule out a possible outcome-altering error

        with the requisite level of confidence, additional measures must be undertaken to ensure

        that there are no outcome-altering errors in the vote.

        6.       The Work Group shall be formed by January 1, 2019, and shall complete its

written report by January 1, 2020.

        7.       Plaintiffs shall have the right to designate up to ten percent (10%) of the members

of the Work Group, and at a minimum one person.

        8.       The Secretary shall direct that pilot auditing occur in 2021, and that auditing be

fully implemented by the 2022 general election.



                                               Page 3 of 8
        Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 5 of 11



 IV.     ATTORNEYS’ FEES

       9.      Defendants will pay to Plaintiffs $150,000.00 (One Hundred Fifty Thousand

Dollars) in reasonable attorneys’ fees and costs incurred in litigating this action through the

execution of the agreement. Said payment is a complete settlement of all fees and costs, and

encompasses all fees and costs related to Plaintiffs’ and their agents’ participation in the process

of certification of voting machines as delineated in this agreement, as well as Plaintiffs’ and their

agents’ participation in the Work Group delineated in this agreement. Said payment will be paid

by means of one check made payable to the law firm of “Emery Celli Brinckerhoff & Abady

LLP, as attorney.” Defendants will submit the appropriate paperwork for issuance of the check to

the Pennsylvania Bureau of Risk Insurance Management no later than 30 days after full

execution of this Agreement.

 V.         ENFORCEMENT

       10.     The parties agree that this Agreement between the parties must be considered a

private settlement agreement, does not require court approval, and that the parties are not seeking

Court approval.

       11.     The parties agree that this Agreement may not be construed by either Party as a

Consent Decree, nor shall any Party argue before any Court of competent jurisdiction, federal or

state, that this Agreement is a Consent Decree.

       12.     Should any Court determine during the term of the private settlement agreement

that this Agreement is a Consent Decree, then the private agreement is voided and the parties

agree that a petition to reopen the case may be filed.




                                            Page 4 of 8
        Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 6 of 11



       13.     The Court shall retain jurisdiction to enforce the terms of this private Settlement

Agreement. The parties agree to request the Court to enter an Order dismissing this case, but

retaining jurisdiction solely to enforce the terms of this private Settlement Agreement.

       14.     Prior to seeking specific performance from the Court, if Plaintiffs have a

reasonable basis to believe that Defendants are in non-compliance with a material term of this

Agreement, Plaintiffs will notify the Defendants in writing of the specific compliance issue(s).

This notice shall identify with particularity the basis of the claim that the Defendants are not in

compliance and the specific provisions of this Agreement that are implicated.

       15.     Within thirty (30) days of receipt of the notification, the Defendants will provide a

good-faith written response to the Plaintiffs’ notification with a full factual explanation: (a) as to

why the Defendants believe they are in compliance with the Agreement; or (b) of possible non-

compliance and a statement of the Defendants’ plans to ensure full compliance.

 VI.     NOTICE

       16.     All notices required under this Agreement will be sent via electronic mail and

overnight mail or overnight courier to the following people:

               If to the Plaintiffs:

               Emery Celli Brinckerhoff & Abady LLP
               c/o Ilann M. Maazel
               600 Fifth Avenue, 10th Floor
               New York, NY 10020
               imaazel@ecbalaw.com

               If to the Defendants:

               Department of State
               c/o Timothy E. Gates
               Office of Chief Counsel
               306 North Office Building
               401 North Street
               Harrisburg, PA 17120-0500

                                             Page 5 of 8
        Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 7 of 11



               tgates@pa.gov

 VII.    RELEASE AND DISCHARGE

        17.    In consideration of the terms and conditions called for herein, the Plaintiffs

release and completely and forever discharge the Defendants, the Department of State, the

Secretary of the Commonwealth, and the Commonwealth of Pennsylvania, their agents,

attorneys, servants, representatives, and employees, past and present, and their past, present and

future agents, attorneys, servants, representatives, and employees and all other persons with

whom any of the former have been, are now or may hereinafter be affiliated, of and from any and

all past or present claims, demands, obligations, actions, causes of action, rights, damages, costs,

expenses, and any claims for compensation or punitive or other damages of any type which

relates to the subject matter of this civil action. This release shall not prevent Plaintiffs from

seeking court enforcement of the Agreement.

        18.    Plaintiffs expressly waive any and all claims which relate to the subject matter of

this civil action, but of which the Plaintiffs do not know or suspect to exist, whether through

ignorance, oversight, error, negligence or otherwise, and which if known would materially affect

the Plaintiffs’ decision to execute this Agreement.

        19.    All parties acknowledge that they have had the opportunity to consult with

counsel, and further acknowledge that they fully understand and agree to the terms of this

Agreement.

 VIII. NO ADMISSION

        20.    It is understood and agreed that this settlement is a compromise of highly disputed

claims, entered into to avoid further litigation. Nothing contained herein shall constitute or be

construed to constitute an admission by any part of the merits of claims or defenses which were,



                                             Page 6 of 8
        Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 8 of 11



or which might have been, asserted by an opposing party in the course of litigating the captioned

action. Nor shall anything contained herein constitute or be construed to constitute a concession

by any party that it would not have prevailed on claims or defenses which were, or which might

have been, asserted by it in the course of litigating the captioned action. The settlement has no

precedential value and may not be cited or relied upon by any person in any proceeding for any

purpose. It is not to be construed as an admission of liability on the part of any party being

released hereunder, any such liability being expressly denied.

 IX.       MISCELLANEOUS PROVISIONS

       21.     Plaintiffs represent and warrant that besides themselves, no other person or entity

has or has any interest in the claims referred to in this Agreement, except as otherwise set forth

herein; and that they have the sole right and exclusive authority to execute this Agreement.

       22.     This Agreement contains the entire agreement between the parties with regard to

the matters set forth herein and supersedes any and all prior agreements between the parties

relating to all or part of the subject matter of this Agreement, and shall be binding upon and inure

to the benefit of the successors and assigns of each from the Effective Date of this Agreement

until December 31, 2022 (Expiration Date).

       23.     This Agreement shall be construed and interpreted according to the law of the

Commonwealth of Pennsylvania.

       24.     If, subsequent to the Effective Date of this Agreement, any provision or term of

this agreement is held to be invalid, illegal, unenforceable or in conflict with the law in any

jurisdiction, the validity and legality of the remaining provisions will not be affected or impaired

thereby.




                                            Page 7 of 8
      Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 9 of 11




       25.     Any headings or subheadings used herein are for reference purposes only and do

not affect the substantive provisions of the Agreement.

       26.     This Agreement may be executed in counterparts, and a facsimile or .pdf

signature shall be deemed to be, and have the same force and effect as, an original signature.

 X.      STIPULATION OF DISMISSAL

       27.     The parties agree that they will sign and submit a stipulation of dismissal with

prejudice pursuant to Fed.R.Civ.P 41(a)(l)(A)(ii) to the Court at the expiration of this

Agreement.



 Counsel for Plaintiffs:                               Counsel for Defendants:




 Ilann M. Maazel, Esq.                                 Sue Ann Unger, Esq.
 Douglas E. Lieb, Esq.                                 Senior Dep.uty Attorney General
 Emery Celli Brinckerhoff & Abady LLP                  Stephen Kovatis, Esq.
 600 Fifth A venue, 10th Floor                         Senior Deputy Attorney General
 New York, NY 10020                                    1600 Arch Street, Suite 300
 (212) 763-5000                                        Philadelphia, PA 19103
                                                       (215) 560-2127
 Date: November_, 2018
                                                       Date: November_, 2018




 John G. Papianou, Esq.                                Tim· thy Gates, Esq.
 Montgomery McCracken Walker & Rhoads
                                                       Chief Counsel
 1735 Market Street
                                                       Kathleen Kotula, Esq.
 Philadelphia, PA 19103
                                                       Executive Deputy Chief Counsel
 (215) 772-73 89
                                                       Pennsylvania Department of State
                                                       306 North Office building
 Date: November_, 2018
                                                       401 North Street
                                                       Harrisburg, PA 17120
                                                       (717) 783-0736

                                                       Date: November 1,f, 2018


                                            Page 8 of 8
      Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 10 of 11




        25.    Any headings or subheadings used herein are for reference purposes only and do

not affect the substantive provisions of the Agreement.

        26.    This Agreement may be executed in counterparts, and a facsimile or .pdf

signature shall be deemed to be, and have the same force and effect as, an original signature.

 X.      STIPULATION OF DISMISSAL

        27.    The parties agree that they will sign and submit a stipulation of dismissal with

prejudice pursuant to Fed.R.Civ.P 41(a)(l)(A)(ii) to the Court at the expiration of this

Agreement.



 Counsel for Plaintiffs:                               Counsel for Defendants:




 Hann M. Maazel, Esq.                                  Sue Ann Unger, Esq.
 Douglas E. Lieb, Esq.                                 SeniorDeputy Attorney General
 Emery Celli Brinckerhoff & Abady LLP                  Stephen Kovatis, Esq.
 600 Fifth Avenue, 10th Floor                          Senior Deputy Attorney General
 New York, NY 10020                                    1600 Arch Street, Suite 300
 (212) 763-5000                                        Philadelphia, PA 19103
                                                       (215) 560-2127
 Date: November_, 2018
                                                       Date: November l!., 2018




 John G. Papianou, Esq.                                Timothy Gates, Esq.
 Montgomery McCracken Walker & Rhoads                  Chief Counsel
 173 5 Market Street                                   Kathleen Kotula, Esq.
 Philadelphia, PA 19103                                Executive Deputy Chief Counsel
 (215) 772-7389                                        Pennsylvania Department of State
                                                       306 North Office building
 Date: November_, 2018
                                                       401 North Street
                                                       Harrisburg, PA 17120
                                                       (717) 783-0736

                                                       Date: November_, 2018


                                            Page 8 of8
 Case 2:16-cv-06287-PD Document 108-1 Filed 11/28/18 Page 11 of 11




        25.     Any headings or subheadings used herein are for reference purposes only and do

not affect the substantive provisions of the Agreement.

        26.     This Agreement may be executed in counterparts, and a facsimile or .pdf

signature shall be deemed to be, and have the same force and effect as, an original signature.

  X.      STIPULATION OF DISMISSAL

       27.      The parties agree that they will sign and submit a stipulation of dismissal with

prejudice pursuant to Fed.R.Civ.P 4 l (a)(l)(A)(ii) to the Court at the expiration of this

Agreement.



 Counsel for Plaintiffs:                                Counsel for Defendants:·




 Hann M. Maazl,Esq.                                     Sue Ann Unger, Esq.
Douglas E. Lieb, Esq.                                   Senior Deputy Attorney General
Emery Celli Brinckerhoff & Abady LLP                    Stephen Kovatis, Esq.
600 Fifth Avenue, 10th _Floor                           Senior Deputy Attorney General
New York, NY 10020                                      I600 Arch Street, Suite 300
(212) 763-5000                                          Philadelphia, PA 19103
                                                        (215) 560-2127
 Date: November lJ 2018
                                                        Date: November_, 2018




John    . api     u,
Mo gOmery McC~Rhoads
                       ~                                Timothy Gates, Esq.
                                                        Chief Counsel
173 5 Market Street                                    . Kathleen Kotula, Esq.
Philadelphia, PA 19103                                   Executive Deputy Chief Counsel
(21 S) 772-7389                                          Pennsylvania Department of State
                                                        306 North Office building
Date: NovembeJ! 2018
                                                        40 l North Street
                                                        Harrisburg, PA 17120
                                                        (71 7) 783-073 6

                                                        Date: November_, 2018


                                             Page 8 of8
